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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF NORTH CAROLINA react
Civil Action No. 1:21-cv-305-MR-WCM ranc-Delivered

ROBIN BRYSON, et al., ASHEVILLE, NG

fem

BROTHER T. HESED-EL, )
)
y Plaintiff, PLAINTIFE’S MOTION FOR
LEAVE TO FILE SURREPLY
pees FILED
)
)

APR 08 2024

U.S. DISTRICT COURT
NOW COMES Brother T. Hesed-E! (“Plaintiff”), pursuant to LCvR 7.1(eWahtiShaeby OF N-C-

Defendants.

respectfully moves the Court to grant him leave to file the attached surreply to Defendants’ Reply
filed on April 5, 2024 [Doc. 177]. Pursuant to LCvR 7.1(b), Plaintiff attempted in good faith to
conter with the defendants’ attorney over the weekend via email and voicemail, but was unable to
reach him. The grounds in support of this motion are detailed in Plaintiff's brief filed

contemporancously herewith.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that the Court grant him leave to file the attached surreply.

Respectfully, this 29"" day of Ramadan in the year 1445 A.H.

.T. ‘LP laintiff pro se

c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3@gmail.com

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CERTIFICATE OF SERVICE

This certifies that a true and correct copy of PLAINTIFF’S MOTION FOR LEAVE TO
FILE SURREPLY has been sealed in an envelope with sufficient postage affixed thereon, and

deposited into the exclusive custody of the United States Post Office, to ensure delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVENS, P.A.

Post Office Box 7647
Asheville, North Carolina 28802
dwalsh@roberts-stevens.com

This 8" day of April in the year 2024 of the Gregorian calendar.

intiff pro se

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